                 Case FORM
    TRANSCRIPT ORDER  1:21-cv-00717-LY   Document
                            (DKT-13) - READ       87 FiledON
                                            INSTRUCTIONS  11/15/21 PageBEFORE
                                                             LAST PAGE  1 of 1 COMPLETING

District Court __________________________________________
               Western District of Texas-Austin Division  District Court Docket No.____________________________________
                                                                                   1:21-CV-00717-LY
Short Case Title ____________________________________________________________________________________________________
                 E.T. et al v. Morath et al
ONLY ONE COURT REPORTER PER FORM Court Reporter _____________________________________________________
                                                Arlinda L. Rodriguez

Date Notice of Appeal Filed in the District Court ________________________
                                                  11-11-2021               Court of Appeals No. _________________________
                                                                                                21-51083


PART I. (To be completed by party ordering transcript. Do not complete this form unless financial arrangements have been made, see
instructions on page 2.)
A. Complete the Following:
‫܆‬No hearings ‫܆‬Transcript is unnecessary for appeal purposes ‫܆‬Transcript is already on file in the Clerk’s Office
 OR
 Check all of the following that apply, include date of the proceeding.
 This is to order a transcript of the following proceedings: տBail Hearing _________________ ‫܆‬Voir Dire ________________
‫܆‬Opening Statement of Plaintiff ________________ ‫܆‬Opening Statement of Defendant _________________
‫܆‬Closing Argument of Plaintiff ________________ ‫܆‬Closing Argument of Defendant:________________
‫܆‬Opinion of court _________________ ‫܆‬Jury Instructions ________________ ‫܆‬Sentencing _________________
Other proceedings not listed above:
 Hearing Date(s) Proceeding                                                          Judge/Magistrate




Failure to specify in adequate detail those proceedings to be transcribed, or failure to make prompt satisfactory
financial arrangements for transcript, are grounds for DISMISSAL OF APPEAL.

B. This is to certify satisfactory financial arrangements have been made. Method of Payment:
‫܆‬Private Funds; ‫܆‬Criminal Justice Act Funds (Enter Authorization-24 via eVoucher);
‫܆‬Other IFP Funds; ‫܆‬Advance Payment Waived by Reporter; ‫܆‬U.S. Government Funds
‫܆‬Other____________________________________________________________________________________________________________

          /s/ Ryan G. Kercher
Signature_________________________________________________________ Date Transcript Ordered__________________________
                                                                                          11/15/2021

Print Name_______________________________________________________
          Ryan G. Kercher                                         Phone ___________________________________________
                                                                        512-417-5282

Counsel for_________________________________________________________________________________________________________
           Defendants/Appellants
Address____________________________________________________________________________________________________________
       P.O. Box 12548, Capitol Station, Austin Texas 78711-2548

PART II. COURT REPORTER ACKNOWLEDGMENT (To be completed by the court reporter and filed with the Court of
Appeals within 10 days after receipt. Read instructions on page 2 before completing.)
 Date Transcript Order        Date Satisfactory Arrangements        Estimated Completion Date Estimated Number of
 Received                     for Payment were Made                                           Pages

Payment arrangements have NOT been made or are incomplete.
Reason: ‫܆‬Deposit not received ‫܆‬Unable to contact ordering party ‫܆‬Awaiting creation of CJA 24 eVoucher
                ‫܆‬Other (Specify) _____________________________________________________________________________________

Date ____________________ Signature of Reporter ____________________________________________Tel._____________________
Email of Reporter _________________________________________________________________________________________________
Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by
court reporter on date of filing transcript in the District Court. This completed form is to be-filed with the Court of Appeals.)

        This is to certify that the transcript has been completed and filed at the District Court today.

        Actual Number of Pages ___________________________                Actual Number of Volumes________________________

Date ___________________________ Signature of Reporter ____________________________________________________________
